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DiSTR|CT CO URT, DENVER COUNTY,

COLORADO DATE FILED: lung ?, 2013 2;53 Pl
|43? Bannock Street, Room 256 (Clerl<‘s Ol`f`lce) F|LING lD: 2C35EESES4DSE
Dcnver CO 30202 CASE NUMBER: 20t8CV32136

720-865-8614

 

Plaintif’fs:
_ DAVID PALMER and LEANNA PALMER
' ACOURT USE ONLYA

\".

Def`endant:
OWN E,RS INSURANCE COMPANY, an Ohio
Company

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Attorneys for Plaintii"fs:
Brian Hugen, Esq., #40688 Case No.: 2013(:\/32136
Ramos Law
3000 Youngiield St., Ste. 200 D'lvision: 414
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COMPLAINT FOR DAMAGES AND JURY DEMAND

 

 

David Palmer and Leanna Pa|mer, by and through her their legal co`unsel, Ramos
Law, file their Complaint against the Det`endant Owners insurance Company as follows:

PAR'I`IES

l. Plaintiff David Pa|mer resides at 5149 LeDuc Lane, Castle Rock, CO
30|08 for all relevant times. -

2. P|aintiff` Leanna Palrner resides at ,5149 l_,eDuc l,ane, Castle Rock, CO
80108 for all relevant times.

3. Defendant Ovvners lnsurance Company (“Owners”] is an Ohio corporation
and its principal place ofbusiness and corporate office is located at 610| Anacapri Bivd.,
Lansing, Mi 489! ? for all relevant times.

4. For all relevant times, Owners is authorized to do business and is doing
business in the State of Colorado. The registered agent for Owners is the Colorado

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Division of lnsurance, 1560 Broadway, Denver, CO 80202.

5. Venue is proper in this Court pursuant to C.R.C.P. 98(c)(l) because the
Def`endant is a nonresident of this state and it may be tried in any county designated in
the Complaint.

GENERAL ALLEGATIONS
6. Plaintiffs incorporate all previous allegations as if more fully set f`orth
herein.
7. _ For all relevant times, David Palmer (“Mr. Palmcr”) and Leanna Palmer

(“Mrs. Palmer”) are marricd.

8. On or about june 9, 2015, at approximately ll:45 a.m., Mr. Palmer was
driving his 2013 BMW 328i Westbound on Arapahoe Rd. approaching the intersection
with Yosemite Rd. in Centennia|, Co|orado and stopped for traffic in front of him due to
a red light Pamela Berlin (“Ms`. Berlin”), while driving her vehicle behind Mr. Palmer,
collided with the rear of Mr. Palmer‘s vehiclc. 'l"his incident will be referred to as “thc
eol|ision".

9. At the time of the collision, Mr. Pa|mer was wearing his seatbe|t.

IO. Mr. Palmer did not have an opportunity to take evasive action to avoid the
collision.

l l. Mr. Palmer’s acts or omissions in no way contributed to the cause of the
accident
12. As a result of the collision, Mr. Pa|mer sustained personal injuries and

incurred damagesl

13. Weather conditions were not a factor in causing or contributing to the
collision.

l4. As a direct and proximate result of thc coilision, Mr, Palmer sustained

neck and back injuries

15. Prior to the collision, Mr. Palme'r suffered with neck and back pain but his
pain levels were much lower than his pain levels he experienced after the collision.

l6. Prior to the collision, Mr. Palmer could perform full activities of daily
living but after the collision, his ability to perform activities of daily living were
significantly impaired.

l?. Prior to the eollision, Mr. Palmer received “rnaintenance" care from his
chiropractor Dr. Watts.

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18. The collision caused Mr. Palmer‘s to experience significant increases in
pain and substantial reductions of his ability to perform many functions of daily living.

l9. As a result of the injuries he sustained in the collision, Mr. Palmer
required a cervical fusion surgery, care with physician spine specialists, imaging studies,
pain intervention procedures such as cervical facet injections and cervical radiofrequency
ablations, further chiropractic care and other treatment

20. As a result of the injuries he sustained in the collision, Mr. Palmer
incurred over 5195,000 in medical treatment bil|s.

21. As a result of lthe injuries he sustained in the collision, Mr. Palmer had to
retire early from his career and incurred approximately $750,000 in past and future
income loss damages._

22. Owners has been timely provided with all oer. Palmer’s medical records
and bills to evaluate the claim.

23. At the time ofthc collision, Mr. and Mrs. Palmer were insured through a
personal automobile policy issued by Owners (Policy No. 46-101-1 19-02) with effective
dates of September l, 2014 through September l, 2015. This policy will be described as
the “UIM policy”. The UIM policy provided uninsuredlunderinsured motorist limits of
$500,000 per pcrsonl$500,000 per occurrence to Mr. Palmer for any compensatory
damages he sustained from the collision `in addition to the $50,000 in bodily injury
liability coverage ol`Ms. Ber|in. The UIM policy also covers loss of consortium damages
and any other damages allowed by law for which Mrs. Palmer sustained as a result ol` Mr.
Palmer=s injuries from the collision

24. Under the terms of` Mr. and Mrs_ Palmers Owners’ insurance policy, the
Palmers had a duty to cooperate with OWners duringJ their investigation of their claim.

25. Mr. and Mrs Palmer have fully cooperated with Owners in their
investigation o`i` their Ullvl claims and have offered to provide them with anything and
everything they requested 1n their evaluation of their U|M claims.

26. Progressive Direct lnsuranee Cornpany (“Progressive") is the automobile
insurance Company providing liability coverage to its insured Ms. Berlin i`or the collision.

27_ Ms. Berlin’s per person bodily injury liability limits with Progrcssive at
the time of the collision were $50,000.

28. On Novembcr 4, 2016, Progressive of`l"ered to settle Mr. Palmer’s claims
against Ms. Berlin for the policy limits of $50,000.

29. On November 4, 2016, the Palmers requested that Owners consent to the
settlement with Progressivc and release ofall claims with Ms. Berlin.

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30. |n a December 7, 2016 letter, Owners stated that it did not consent to Mr.
Palmer settling his bodily injury claim against Ms. Berlin and that it desired to preserve
its right of recovery against Ms. Berlin and therefore agreed to substitute its own payment
of $50,000 in place of the offer from Progressivc.

31. 011 December 23, 2016, 0wners lnsurance sent an email to Mr. `Pa|mer’s
attorney, Brian Hugen, (“Mr- l-lugen”) requesting that Mr. Palmer sign an Assignment of
his rights, claims, demands and actions against Pamela Berlin to OWners and further
statcd, “We will then be able to pursue the tortfeasor for recovery without involving Mr.
Palmer.”

32. 'l"he Assignment requested by Owners was sought because Owners
claimed that Mr. Palmer.had a duty to cooperate with 0wners, it had a right to recover
the substituted payment of $50,000 and had a right to recover any further amounts which
may be paid or determined owing on Mr. .Palmer’s claim for UIM benelits pursuant Mr.
`Palmer’s insurance policy with Owners.

33. On lanuary 3 201?, David Palmer signed an Assignment of his rights,
claims, demands and actions against Pamela Berlin to Owncrs.

34. On January 10, 201 ?, Owners issued a check for 550,000 to David Palmer
for the substituted payment in place of the 550,000 policy limits offer of Progressive.

35. On February 27, 2017, Owners wrote Mr. Hugen requesting: the total
dollar figure of.the billings Mr. Palmer is claiming to date relating to his injury from the
motor vehicle collision; an update of Mr. Palmer"s symptoms, diagnoses and treatrnent;
what has resolved; and, what the projected future prognosis is for Mr. Palmer.

36. On Mar`ch 1,2017,Owne1s was informed that Mr. Palmer was scheduled
for a triple spinal fusion

37.` On June 14, 2017, Mr. l-lugen sent Owners all medical records and bills
received to. date for Mr. Palmer, which lincluded M_r. Palmer’s cervical spinal fusion
surgery performed by John Barker, .\/l.D., -which occurred on lvlarch 23,‘-2017.

38. On .lune |4, 2017, Mr. Hugen provided Ovvners a description of Mr.
Palmer’s past earnings, evidence ofhis earnings, emails regarding his retirement effective
December 31, 2015, and a description of why his injuries from the collision caused him
to retire prematurely

39. ()n September 29, 20[7, Gregory R. Giometti, Esq. (“Mr. Giometti") sent
Mr. i-lugen a letter stating that his firm had been retained by Owners and Owners wished
to further investigate Mr. Palmer’s claim for UIM benefits, including that it wished to
retain a forensic orthopedic surgeon, a diagnostic radiologist and an accident
reconstructionist specializing in biomechanics and injury causation, and once Owners
received these rcports, it will be in a better position to evaluate the potential settlement of

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Mr. Palmer’s U_lM claim.

40. On hiovember 10, 2017, ()wners received updated records from Dr.
Barker and Rocky Mountain Spine.

41. On November 28, 2017, Mr. Hugen sent Mr. Giometti a letter informing
Owners that Mr. Palmer was making a claim for U[M benefits, he was still receiving
medical treatment for his injuries from the collision and he had not yet reached maximum
medical improvementl

42. On .lanuary 12, 2018, Mr. Giometti sent Mr. Hugen a letter stating that
Owners lnsurance had completed an investigation sufficient to respond to Mr. Palmer’s
request for UIM benefits ln this letter, Mr. Giometti stated that 0wners lnsurance had
Marjorie Eskay-Auerbach, MD, _lD perform a medical record review and attached Dr.
Esky-Auerbach’s November 15, 201? report, ln her report, Dr. Esky-Auerbach stated
that Mr. Palmer’s March 23, 2017 cervical discectomy and fusion surgery, and his
cervical intervention pain procedures such as facet injections and a radiol`requency
ab|ation were not caused by any injuries from the collision. Dr. Esky-Auerbach based
her opinions, in part, that she could not accept Mr. and Mrs. Palmer’s accounts of
increase in Mr. Palmer’s cervical pain and his decrease in his ability to perform activities
of daily living because Dr. Esky-Auerbach believed that these descriptions by the
Palmers were not reliab|e.

43. On lanuary l9, 2018, Mr. Hugen wrote Mr. Giometti and pointed out that
Owners had not spoken with Mr. and Mrs, Palmer, had not spoken to Mr. Palmer’s
supervisor at his employment and did not speak with Mr. Palmer’s treating health care
providers or seek further information from these health care providers In this letter,
Owners was asked to properly evaluate Mr. Palmer's pain levels and functioning levels
before and after the collision and determine what treatment was necessary to return Mr.
Palmer to his baseline of symptoms and functioning prior to the collision. Mr. Hugen
requested that an Owners representative speak with Mr. Palmer’s treating doctors to
confirm that the collision was the cause of the pain intervention procedures and cervical
discectomy and fusion surgery and speak with Mr. Palmer’s employment supervisor. A
request was also extended to.contact Mr. Hugen to set up these meetings Mr. Hugen
also asked why Owners hired Dr. E`skay-Auerbach and why-it relied only upon her
opinions and rejected the opinions of Mr. Palmer’s doctors Mr. Hugen pointed out that
Dr. Eskay-Auerbach was not licensed to practice medicine in Colorado, she was a known
“defense doctor” and she was a professional expert witness who routinely disagreed with
patients‘ treating doctors Mr. Hugen requested that, rather than Owners rely exclusively
upon a well-known defense doctor who had clear defense biases, the Palmers and Owners
agree to a mutually acceptable spine physician, licensed in Colorado, to review all ol` the
evidence and provide an opinion on causation of injuries and treatment

44. On February 2, 2018, Mr. Giometti wrote Mr. Hugen and stated that
Owners would like to obtain further information from Mr. Palmer’s health care providers
and requested a signed medical authorization from Mr. Palmer to do so. Mr. Giometti
stated, however, that at that time, 0wners did not believe it necessary to speak with Mr.

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Palmer’s health care providers, Mr. or Mrs¢ Palmer or Mr. Palmer’s employment
supervisor. Mr. Giometti also declined the Palmers’ offer to have a mutually agreeable
physician evaluate Mr. Palmer’s case.

45. On February |4, 2018, the medical authorizations signed by Mr. Palmer
requested by Owners were sent to Mr. Giometti and he was provided the information
0wncrs requested on Mr. Palmer’s medical providers who treated him for five years prior
to the collision,

46. On March 13, 2018, signed statements by David Palmer and Leanna
Palmer were sent to Mr. Giometti. These statements provided ()wners information on
Mr. Palmer’s pain and'l`unctioning before the collision and how his pain and functioning
changed alter the collision. _

4?. In an April 23, 2018 letter, Mr. Giometti informed Mr. Hugen that Owners
had filed a Complaint against lv‘ls. Berlin and attached a copy of the Complaint referenced
as Owners Insurance Company v. Pame|a Berlin, Arapahoe Counly District Court, Case
Number 2018€V30922, Division 21. Mr. Giometti stated in this same letter that it is `
Owners" position that the Palmers may be bound by a judgment that arises from ()wners
lawsuit against Mr. Berlin and that a judgment will ultimately impact Mr. Palmer’s U[=_\/l
claim.

48. On April 25, 2018, Mr. llugen sent Mr. Giometti a letter requesting that
Owners Insurance tender its UlM limits of $500,000 to Mr. Palmer and a breakdown of
Mr. Palmcr’s income loss damages was provided

49. ln a May 9, 2018 letter, Mr. Giometti stated that Owners believed that
only $5,426 in medical bills were related to the collision and Mr. Palmer‘s total damages
from the collision did not exceed Ms. Berlin’s policy limits of $50,000. Based upon this
claim, 0wners denied payment of any UlM benefits to the Palmers.

50. On May 25, 2018, Mr. Hugen sent Mr. Giometti a letter asking why
Owners in its lawsuit against Ms. Berlin filed a CV Cover Sheet stating that a monetary
judgment over $100-,000 was not being sought and C.R.C.P. 16.1 applied when Owners
had previously requested an assignment ol` all of Mr. Palmer’s rights against lvls4 Berlin
so that it could recover not only the $50,000 in substituted payment but also up to
$500,000 in UlM benefits which may be paid on the Palmers’ UlM claim. Another offer
was extended in this letter for setting up meetings with an 0wners’ representative and the
Palmers and Mr. Palmer’s treating surgeons.

51. On May 30, 2018, Mr. Giometti sent a letter to Mr. Hugen stating that
Owners filed the action under C.R.C.P. 16.1 because it did not believe that the value of
Mr. Palmer’s claims exceeded $100,000. Mr. Giometti added that rather than set up
meetings with Mr. Palmer’s health care providers and with Mr. Palmer, written discovery
and depositions would be utilized Mr. Giometti further stated that Ms. Berlin’s insurer,
Progressive Insurance, had offered its $50,000 policy limit to Owners but OWners
declined to accept this offer. Lastly, Mr. Giometti enclosed a May l?, 2018 report of

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Charles Bain, MD, CCFP.

52. In his May 1?, 2018 report, Dr. Bain claimed that visible damage to Mr.
Palmer’s vehicle was not caused by the collision and none of his treatments to his
cervical facets or his fusion surgery were caused by the collision.

53. ln a Junc l, 2018 letter, Mr. Hugen Wrotc Mr. Giometti and asked if it was
OWners position that the findings ol` causation and damages in 0wners Insurance v.
Berlin would he binding on Mr. Palmers UlM claim pursuant to the law on issue
prcelusion.

54. In a luna 4, 2018 letter, Mr. Giometti informed Mr. Hugen that it was
Owners’ position that a judgment in Owners Insurance v. Berlin would be binding in
relation to Mr. Palmer’s UlM claim.

55. In a .lune 5, 2018 letter, Mr. Hugen informed Mr. Giometti that Mr, Hugen
would seek to intervene in Owners Insurance v. Berlin and request that the court address
early in the process that the law on issue preclusion would not apply to the Palmers’ UlM
claims or in the alternative, enter art Order to stay the action until the claims brought by
the Palmers against Owners were resolved by settlement orjudgment-

56. ln a .lune 6, 2018 letter to Mr. Giometti, Mr. Hugen asked why 0wners on
December ‘?, 2016 did not allow Mr. Palmer to settle for Ms. Berlin’s policy limits of
$50,000 and why it wished to preserve its right to pursue Ms. Berlin on all potential UlM
payments

5?. On .lunc 6, 2018, Mr. Giometti wrote a letter to Mr. Hugen stating that
0wners would agree that: the Palmers would not be bound by whatever result was
obtained in Owners v. Berlin; there was no need for the Palmers’ counsel to intervene in
the aetion; the Palmers could bring their claims against Owners in a separate aetion; and
0wners would agree to extend thc date upon which the Palmers may commence an action
for UlM benefits against Owners until July 9, 2018.

SS. At all relevant times Mr. Giometti and any other attorney at Giometti &
Mercness PC and any other attorney at Mr. Giometti’ s former’s firm Gregory R.
Giometti & Associates PC, involved in thc Palmers’ U[M claims, were agents for
0wners and any actions by these attorneys arc binding on Owners as if employees of
Owrters had performed these actions.

59. On May 9, 2018, 0wncrs began to unreasonably.deny and delay proper
payment on the Palmers’ UlM claims and Owners continued to unreasonably deny and
delay proper payment on the Palmers’ UlM claims.

60. On or before November 15, 201?, when 0wncrs decided to retain
Marjorie Eskay-Auerbach, MD, JD, Owners began to act in bad faith and began to act
unfairly in its dealings with the Palmers on their UIM claims and Owners has continued
to act in bad faith and unfairly in its dealings with the Palmers.

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61. On May 9, 2018, 0wners breached its contract with the Palmers to pay
reasonable UlM benefits to the Palmers.

62. Mr. Palmer seeks from Owners his UlM contractual benefits to cover his
past and future damages, including but not limited to, his past and future medical
expenses, past and future income losses, past and future miieage, past and future pain and
suffering, past and future physical impairment, disfigurement and prejudgment interest
caused by the underinsured driver in the lune 9, 2015 motor vehicle collision.

63. Mrs. Palmer seeks from Owners her UlM contractual benefits to cover her
loss of-consortium damages and any other damages allowed by law for which Mrs.
Palmer sustained due to Mr. Palmer‘s injuries from the collision.

PLAINTIFFS’ FlR_§'I` CLAIM FOR RELIEF

 

(BREACH OF CONTRACTl
64. Plaintiffs incorporate all previous allegations as if more fully set forth
hereln. » -
65. At all times relevant to this action, Mr. and Mrs. Palmer were insureds

- under the policy issued by lthe Owners and they had a contractual right to UlM benefits as
a result ofthe June 9, 2015 motor vehicle collision.

66. Mr. and .\drs. Palmer have complied with all conditions precedent to
coverage under the insurance policy issued by Owners to them.

- 6?. To the extent that Mr. or Mrs. Palmer have failed to comply with any of
the contractual obligations_. 0wners has not been prejudiced by the failure to comply.

68. _ To the extent that Mr. or Mrs. Palmer have failed to comply with any of
the contractual obligations, Owners may not rely on this failure to comply because it
breached one or`more material obligations under the policy prior to any alleged failure of
Mr. or Mrs. Palmer to comply.

69. At all times relevant to this action, Owners owed to Mr. and Mrs. Palmer a
duty to pay reasonable UlM benefits owing under the insurance contract.

70. Owners breached its contract by failing to pay Mr. and Mrs. Palmer
reasonable underinsured motorist benefits and by failing to pay the full underinsured
motorist benefits owing under the policy.

71. As a direct and proximate result of Owners’ breach of contract, Mr. and
Mrs. Palmer have incurred damages Mr. Palmer seeks from 0wners his UIM contractual
benefits to cover his past and future damagcs, including but not limited to, his past and
future medical expenses, past and future income losses, past and future mileage expenses,
past and future pain and suffering, past and future physical impairment and disfigurement

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61. On May 9, 20|8, Owners breached its contract with the Palmers to pay
reasonable UlM benefits to thc Palmers.

62. Mr. Palmer seeks from Owners his UlM contractual benefits to cover his
past and future damages, including but not limited to, his past and future medical
expenses, past and future income losses, past and future mileagc, past and future pain and
suffering, past and future physical impairment, disfigurement and prejudgment interest
caused by the underinsured driver in the June 9, 2015 motor vehicle collision.

63. Mrs. Palmer seeks from Owners her UlM contractual benefits to cover her
loss of consortium damages and any other damages allowed by law for which Mrs.
Palmer sustained due to Mr. Palmer’s injuries from the collision.

PLAINTIFFS’ FIRST CLAIM FOR RELIEF
(BREACH OF CONTRACT} `

64. Plaintiffs incorporate all previous allegations as if more fully set forth
herein. '- -

65. At all times relevant to this action, Mr. and Mrs. Palmer were insureds
under the policy issued by the Owners and they had a contractual right to UlM benefits as
a result of thc .lune 9, 2015 motor vehicle collision.

66. Mr. and Mrs. Palmer have complied with all conditions precedent to
coverage under the insurance policy issued by Owners to them.

6';`. 'l'o the extent that Mr. or Mrs. Palmer have failed to comply with any of
the contractual obligations, Owners has not been prejudiced by the failure to comply.

68. To the extent that Mr. or Mrs. Palmer have failed -to comply with any of
the contractual obligations, Owners may not rely on this failure to comply because it
breached one or more material obligations under the policy prior to any alleged failure of
Mr. or Mrs. Palmer_to comply.

* 69. At all times relevant to this action, Owners owed to Mr. and Mrs. Palmer a
duty to pay reasonable UlM benefits owing under the insurance contract

70. Owners breached its contract by failing to pay Mr. and Mrs. Palmer
reasonable underinsured motorist benefits and by failing to pay the full underinsured
motorist benefits owing under the policy.

71. As a direct and proximate result of Owners’ breach of contract, Mr. and
Mrs. Palmer have incurred damagesl Mr. Palmer seeks from Owners his UIM contractual
benefits to cover his past and future damagcs, including but not limited to, his past and
future medical expenses, past and future income losses, past and future mileage cxpenscs,
past and future pain and suffering, past and future physical impairment and disfigurement

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caused by the underinsured driver in the .lune 9, 2015 motor vehicle _co|lision, plus pre
and post judgment interest, attomey’s fees and costs. Mrs. Palmer seeks from Owners
her UlM contractual benefits to cover her loss of consortium damages and any other
damages allowed by law for which Mrs. Palmer sustained due to Mr. Palmer’s injuries
from the collision, plus pre and postjudgment interest,-attorney’s fees and costs.

P__l_,_AINTlFFS SECOND CLAIM FOR RELIEF
(BAI_) FAITH B_REACH OF AN INSURANCE CONTRAC'T)

?2. Plaintif`fs incorporate all previous allegations as if more fully set forth
herein.

73. As a provider of1nsurance services t_o the public Ow_ners. at all times, _had
a duty to be actuated by good faith and fair dealing in everything pertaining thereto,
abstain from deceptive or misleading practices and keep, observe, and practice the
principles of law and equity in all matters pertaining to the business of insurance

?4. - Under Colorado law, every insurance contract contains an implied
covenant of good faith and fair dealing and imposes on insurers a duty to act in good faith
and fair dealing with their insured. Pursuant to its implied duty of good faith and fair
dealing, Owners owed to Mr. and Mrs. Palmer an obligation to treat Mr. and Mrs.
Palmer’s interest with equal consideration to their own interest.-

75. Owners has breached its duty of good faith and fair dealing owed to Mr.
and Mrs. Palmer, including but not limited to: -

a. Failing to give equal consideration to the interests of the Palmers,
its insureds;

b. When° investigating the Palmers claims, failing to diligently search
for evidence that supported Mr. and Mrs. Palmer s claims;

e. _ Seeking to discover only evidence that defeated or minimized the
Palmers’ claims;d

d. Unreasonably delaying and!or withholding benefits under the'
insurance policy without a reasonable basis for delaying and!or
withholding benefits, 'with knowiedge or reckless disregard, or
with a lack of reasonable basis for delaying andfor withholding
benefits;

e. Failing to adopt and implement reasonable standards for the
prompt investigation of claims arising under the insurance policy;

f. Refusing to . pay claims without conducting a reasonable
investigation based upon all available information;

 

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g. Not attempting in good faith to effectuate prompt, fair and
equitable settlement of Mr. and Mrs. Palmer’s claims after its
liability has become reasonably clcar;

h, Compelling Mr. and Mrs. Palmer to institute litigation to recover
amounts due under the insurance policy by offering substantially
less than the amount Mr. and Mrs. Palmer are entitled to reeover;

i. Forcing Mr. and Mrs. Palmer into the costly and lengthy process of
]itigation;

j. Rcfusing to provide Mr. and Mrs, Palmer with a full and proper
explanation of the basis of any offer to resolve the claim despite
requests for an explanation of how they came up with their
evaluation;

k. Manipulating the legal process through a substituted payment, an
assignment of righ'ts, litigation against Ms. Berlin, maintaining that

Mr. and Mrs. Palmer were bound by the judgment in Owners legal

` action against Ms. Berlin, when it knew or should have known that

its position was unreasonable and was intended to deprive Mr. and

Mrs. Palmer of U]M benefits improperly, or at very least Owners
recklessly disregarded the fact that their conduct Was unreasonable;

l. Failing to properly consider Mr. Palmer’s treating health care
providers’ opinions on his injuries caused by the collision and
relying exclusively on its retained professional litigation doctors
with known histories of being defense expert and routinely
disagreeing with treating health care providers on issues of
causation of injuries;

rn. Failing to conduct a proper investigation through meetings with
` an_d/or the taking of statements under oath of Mr. and Mrs. Palmer,
meetings with Mr. Palmer’s treating physicians or requests lo these
physicians for further information. and a meeting with Mr.
Palmer’s employment supervisor;

n. Any other conduct discovered during the course of this litigation or
in the course of Owners litigation against Ms. Berlin.

76. Owners’ aforesaid conduct was unreasonable and Owners _either knew
such conduct was unreasonable or recklessly disregarded the fact that the conduct was
unreasonable

71 As a direct and'proximatc- result of Owners’ breach of its duty of good
faith and fair dealing, Mr. and Mrs. Palmer have sustained damages in the amount to be
proved at the time oftrial.

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PLAINTIFFS’ THIRD CLAIM FOR RELIEF

§VIOLATION OF C.R.S. § 10-3-1115[1}[1\! AND C.R.S. § 10-3-1 11611]1

'?8. Plaintiffs incorporate all previous allegations as if more fully set forth
herein.

?9. Owners’ denial of Mr. and Mrs. Palmer’s claims for underinsured motorist
benefits is unreasonable

80. Owners’ delay in the handling of Mr. and Mrs. Palmer’s claims for
underinsured motorist benefits is unreasonable

Sl. Pul'suant to C.R.S. § 10-3-1116(1), Mr. and Mrs. Palmer are entitled to
reasonable attorney’s fees, the UlM benefits owed plus two times the covered benefit for
Owners’ unreasonable delay and denial of their UlM benefits

WHEREFORE, the Plaintil"_f`s David and i.teanna Palmer pray l`orjudgment against
the Defendant Owners Insurance Company on all claims and damages allowed by law in
the amount to be proved at the time oftrial, including but not limited to, the UlM benefits
owed plus two times the benefits denied ot deiayed, pre and postjudgment interest, costs,
expert witness fees, reasonable attomey’s fees, and such other damages allowed for bad
Faith breach of an insurance contract and for such further relief allowed on the Plaintif`["s’
claims which arejust and proper.

PLAINTIFFS DEMAND 'I`RIAL BY JURY ON ALL ISSUES.
Respecti`ully submitted this 7“‘ day oFJune, 2018.

RAMOS LAW

Ort`gt`mn' signatures rmfile at Romos Lmv
)'sr' Brian Hugen

Brian Hugen, E.sq. #40688
Attnrneysfor Plairttr';_"fs

Plaintii`i`s’ Address
5 l 49 LeDuc Lane
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